Case 1:25-cv-00613-MLB Document 5-15 Filed 03/07/25 Page 1of 32

03-93031 Chapter 11

Re: (12-10A2) (Part 14-10A2)

A. Appellants’ Expressed Actual Notice of Adverse
Effects and Consequences.

The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L

Filed in U.S, Bank
Brooklyn, NY 11226 Northam District ope
(718) 844-1260 Vania 8. Allen, Clert
utware007@gmail.com FE
B26 2095
February 19, 2025 By:
eputy ferk

VIA ELECTRONIC FILING AND U.S. MAIL

The Honorable Barbara Ellis-Monro

Chief Judge, United States Bankruptcy Court

Northern District of Georgia

Richard B. Russell Federal Building and United States Courthouse
75 Ted Turner Drive, S.W.

Atlanta, Georgia 30303

Vania S. Allen

Clerk of the Bankruptcy Court

United States Bankruptcy Court

Northern District of Georgia

Richard B. Russell Federal Building and United States Courthouse
75 Ted Turner Drive, S.W.

Atlanta, Georgia 30303

B. Re: IMMEDIATE ATTENTION REQUIRED: APPELLANTS’ SUBMISSION FOR
FILING AND DOCKETING OF AMENDMENT NO. 2 TO NOTICE OF APPEAL (DKT.
279) —- APPEAL OF DKT. 286—THE CRIMINAL VIOLATIONS OF 18 U.S.C. § 2071(a),
(b) ARISING FROM ATTEMPTED RETURN OF JUDICIAL PUBLIC RECORDS.

Sincerely,

/s/ Ulysses T. Ware

Hoopes? Wane

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
Notice of Appeal appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported Order-01.
Case 1:25-cv-00613-MLB Document 5-15 Filed 03/07/25 Page 2 of 32

Ulysses T. Ware
Attorney in Fact for Appellants-Movants
Ulysses T. Ware and Group Management

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
Notice of Appeal appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported Order-01.
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B. Re: IMMEDIATE ATTENTION REQUIRED: APPELLANTS’ SUBMISSION FOR FILING
AND DOCKETING OF AMENDMENT NO. 2 TO NOTICE OF APPEAL (DKT. 279) — APPEAL
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EXHIBIT 1—Dkt. 286. Purported Order Entered by the Bankruptcy Court on February 18,
2025, and Docketed as Docket Entry 286 in In re Group Management Corp., Case No. 03-93031
(BEM) (Bank?..N.D.iGa.) « cccsissssascccsssesnnccenserceannamesrennnnmnenammnnnnaenanmememaanmnmmnn ERT 21

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Wednesday, February 19, 2025
(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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Case: In re: Group Management Corp., Chapter 11, Case No. 03-93031-BEM
Appeal Case No. 25cv00613 (NDGA) (MLB).

C. Appellants’ Actual and Constructive Notice of Adverse
Consequences.

To Chief Judge Ellis-Monro and the Clerk of the Bankruptcy Court:

This letter is written with utmost urgency and grave concern regarding the Bankruptcy Court’s
stated criminal intention in its Order entered February 18, 2025 (Dkt. 286), to “return all emails
received from Mr. Ware.” This directive, if implemented with respect to Appellants’ recently
submitted Amendment No. 2 to the Notice of Appeal (Dkt. 279), and any other filings, would
constitute a direct and actionable violation of 18 U.S.C. § 2071(a) and (b), potentially subjecting
those responsible to criminal penalties, and the 28 USC 586(a

Appellants, Ulysses T. Ware and Group Management have today, February 19, 2025, submitted
for filing and docketing Amendment No. 2 to the Notice of Appeal (Dkt. 279), challenging the
Bankruptcy Court’s demonstrably and manifestly erroneous Order (Dkt. 286). This submission is
a crucial judicial public record in Case No. 03-93031-BEM and the related appeal, Case No.
25cv00613 (NDGA) (MLB).

The Bankruptcy Court’s announced intention to “return” emails and, by necessary implication,
any attached legal filings, directly contravenes the mandatory record-keeping requirements of
Federal Rule of Bankruptcy Procedure 5003(a), which compels the Clerk to “keep a docket in each
case under the Code and shall enter thereon each judgment, order, and activity in that case.”
Furthermore, and of critical legal significance, any act of “returning” or refusing to docket
Appellants’ filings, particularly Amendment No. 2, or any other judicially related “paper”
constitutes a violation of 18 U.S.C. § 2071, which explicitly criminalizes the unlawful removal,
concealment, or destruction of public records.

18 U.S.C. § 2071(a) states in pertinent part:

Whoever [whether a clerk or a judge] willfully and unlawfully conceals, removes, mutilates,
obliterates, or destroys, or attempts to do so, or, with intent to do so takes and carries away any
record, proceeding, map, book, paper, document, or other thing, filed or deposited with any clerk
or officer of any court of the United States, or in any public office, or with any judicial or public
officer of the United States, shall be fined under this title or imprisoned not more than three years,
or both.

18 U.S.C. § 2071(b) further provides:

Whoever, having the custody of any such record, proceeding, map, book, document, paper, or
other thing, willfully and unlawfully conceals, removes, mutilates, obliterates, falsifies, or destroys
the same, shall be fined under this title or imprisoned not more than three years, or both; and
shall forfeit his office and be disqualified from holding any office under the United States.

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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The act of “returning” Appellants’ filings, including Amendment No. 2, cannot be construed as
anything other than a deliberate, willful, reckless, and irresponsible attempt to remove, suppress,
and conceal judicial public records from the Court’s mandated record-keeping system. This
action, if undertaken, would demonstrably constitute a violation of 18 U.S.C. § 2071(a) and (b).

Moreover, Appellants assert that this attempted suppression of judicial records is not an isolated
incident, but rather an ongoing and continuous pattern of overt and predicate acts in an ongoing
conspiracy to obstruct justice and commit bankruptcy fraud within Case No. 03-93031-BEM. This
conspiracy is directly related to the deliberate concealment and mischaracterization of critical
subject matter issues, including:

1. The unregistered broker-dealer status of KTS’ clients and their lack of Article III standing
to assert claims in this bankruptcy proceeding.

2. The predatory criminal usury status of promissory notes GX 1, GX 2, GX 3, GX 4, and GX
5, which are void ab initio under applicable law and cannot form the basis of legitimate
claims.

The Bankruptcy Court’s attempt to prevent the docketing and official recording of Appellants’
filings, particularly Amendment No. 2, and other prior filings serves to further conceal these
critical jurisdictional and substantive defects from appellate review and public scrutiny.

Therefore, Appellants formally demand that Chief Judge Ellis-Monro and the Clerk of the
Bankruptcy Court immediately cease and desist from any action that would result in the
“return,” non-docketing, removal, suppression, concealment, or destruction of Appellants’
filings, including Amendment No. 2.

We further demand that Amendment No. 2, and all other submissions by Appellants, be promptly
and properly docketed in accordance with Federal Rule of Bankruptcy Procedure 5003(a) and all
other applicable rules and regulations.

Be advised that any action taken to violate 18 U.S.C. § 2071, or to obstruct justice in this matter,
will be immediately reported to the United States Attorney for the Northern District of Georgia,
the Department of Justice, and the Judicial Council of the Eleventh Circuit Court of Appeals for
appropriate investigation and prosecution, and the Office of the U.S. Trustee, Region 21, Mary Ida
Townsend, Esq. and Jeneane Treace, Esq., both who have been served with a copy of this
Amendment No. 2

Appellants trust that the Bankruptcy Court will immediately rectify this grave error and ensure full
compliance with all applicable laws and rules, thereby preserving the integrity of the judicial
record and upholding the principles of due process and open access to the courts.

Sincerely,

/s/ Ulysses T. Ware

Mien) Wn

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Wednesday, February 19, 2025 .

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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Ulysses T. Ware .
Attorney in Fact for Appellants-Movants
Ulysses T. Ware and Group Management

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(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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Case 1:25-cv-00613-MLB Document 5-15 Filed 03/07/25 Page 7 of 32

(12-10A2) (Part 14-10A2)

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

Filed on February 19, 2025, via U.S. mail and email, 10:40:48 AM.
In re:
GROUP MANAGEMENT CORP.,
Debtor.

Case No.: 03-93031 (WLH).
Chapter 11

D. APPELLANTS’ AMENDMENT NO. 2 TO
NOTICE OF APPEAL DKT. 279.4

APPELLANTS’ APPEAL OF DKT. 286, AND BANKR. RULE 9014/12(h)(3) ARTICLE
Ill “THRESHOLD MATTER” JURISDICTIONAL APPEAL?

Appellants/Movants: Ulysses T. Ware and Group Management?

Appellees/Respondents: Alpha Capital, AG, Stonestreet, L.P., Markham Holdings, L.P., Amro
International, S.A., Kilpatrick, Townsend, & Stockton, LLP, Dennis S. Meir, John W. Mills, III,
J. Henry Walker, IV, Wab Kadaba, Kenneth A. Zitter, Arie Rabinowitz, LH Financial Services
Corp., Konrad Ackermann, Joseph Hammer, Trailblazer Merger Corp., I, Wendy L. Hagenau,
James H. Morawetz, the Office of the U.S. Trustee, Region 21, Mary Ida Townson, Jeneane
Treace, M. Regina Thomas, Patricia Sinback, Margaret H. Murphy, Joyce Bihary, Coleman Ray
Mullins, Securities and Exchange Commission, Financial Industry Regulatory Agency (FINRA),

' See Dkt. 278. On appeal in In re Group Management Corp., 25cv00613 (NDGA) (MLB).

? Article III jurisdictional and standing appeals pursuant to Fed. R. Civ. P. Rule 12(h)(3) and 9014 are only
permitted and authorized to be filed in the Bankruptcy Court (NDGA) in regard to In re Group
Management Corp., 03-93031 Chapter 11: (Rule 12(h)(3): Lack of Subject-Matter Jurisdiction. If the
[bankruptcy] court determines at any time that it lacks subject-matter jurisdiction [over the Criminal Usury
Subject Matter, GX 1, GX 2, GX 3, GX 4, and GX 5, the [bankruptcy] court must dismiss the action.

3 Successor in interest to the Chapter 11 Debtor, Group Management Corp., a sole proprietorship.

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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Barbara Ellis-Monro, Marcia E. Asquith, Robert L.D., Colby, Robert W. Cook, Emma Jones,
Sarah Jeffries, The State Bar of Georgia, Office of the General Counsel, William D. NeSmith, III,
Paula Fredrick, Leigh Burgess, William Alan Myers, Adrienne Nash, Jenny Mittlemen, Jonathan
Hewett, Patrick N. Arndt, Michael D. Hostetter, Nall & Miller, LLP, Manibur S. Arora, Edward
T.M. Garland, Michael F. Bachner, David B. Levitt, Donald F. Samuel, Janice Singer, Alexander
H. Southwell, Thomas W. Thrash, Jr., Michael P. Boggs, Thomas A. Leghorn, Lawrence B.
Mandala, Baker & McKenzie, LLP, Robert H. Albaral, John F. King, and Office of the Georgia
Insurance Commissioner, and John Does Insurance Companies, ##1-5.

NM baa T. Ware

T nes 0 1 Vere—w are
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmail.com

February 19, 2025, 10:40:48 AM

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
Notice of Appeal appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported Order-01.
Case 1:25-cv-00613-MLB Document5-15 Filed 03/07/25 Page 9 of 32

BEFORE THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

In re:
GROUP MANAGEMENT CORP., Chapter 11
Debtor. Case No.: 03-93031 (WLH)

Re: (12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025,
Amendment No. 2 to Feb. 7, 2025, Dkt. 279, Notice of Appeal
appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported
Order-01. Exhibit 1, attached hereto, infra.

COME NOW Appellants-Movants, Ulysses T. Ware and Group Management (collectively,
“Appellants”), and hereby on Feb. 19, 2025, duly submit this Amendment No. 2 to the Notice of

Appeal, Docket Entry 279, Bankr. Rule 5003(a) “activity” in_03-93031,' filed in the above-

captioned matter on February 3, 2025, for filing and docketing with the Court. In accordance with
the Federal Rules of Bankruptcy Procedure, Rule 5003(a), and to ensure the accuracy and

completeness of the record, Appellants respectfully submit the following amendment:

E. Bankr. Rule 5003. Records Kept By the Clerk. (a) Bankruptcy Dockets.
Rule 5003(a) states that: The clerk shall keep a docket in each case [03-9303 1] under the Code and

shall enter thereon each judgment, order, and activity in that case’ as prescribed by the Director of the

5 Under Bankruptcy Rule 5003(a), the Clerk must maintain a docket showing all “activity” (all papers
filed) and each “judgment, order, or other proceeding” in the case. In practice, this means that any
formal event that bears on the court’s consideration or administration of the bankruptcy—whether initiated
by the debtor, a creditor, another party in interest, or the court itself—generally qualifies as “activity” that
must be entered on the docket. Although the rule does not contain a bright-line definition of “activity,”
courts and clerks typically treat the following as “activity” for Rule 5003(a) purposes:

1. Formal Filings or Papers:

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(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
Notice of Appeal appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported Order-01.
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Administrative Office of the United States Courts. The entry of a judgment or order in a docket shall show
the date the entry is made. Palpably, if Judge Ellis-Monro’s ill-advised, and unprecedentedly announced

intended criminal violation of 18 USC §§ 2071(a), (b) is actually carried out, her crimes will constitute a

per_se admission, confession, and self-incrimination of an ongoing conspiracy to obstruct justice, and

commit bankruptcy fraud by sealing the 03-93031 docket in violation of the First Amendment right of all

to all judicial public records—that is, egregious and criminal violations of the Code of Conduct for Federal

Judge, high crimes and misdemeanors, impeachable offenses. See Press Enterprise, 464 U.S. at 508-09.

a. Petitions, pleadings, motions, applications, complaints, notices, and any other written
request for relief that a party tenders for the court’s review.
b. Responses, objections, replies, or any paper that responds to a pending motion or
proceeding.
c. Proofs of claim filed by creditors or interest-holders.
ii. Orders and Judgments:
a. Court orders disposing of motions or granting/denying relief.
b. Judgments, whether final or interlocutory, issued by the court.
iii. Proceedings or Events in the Case:
a. Notices of hearing, minutes of hearings, or hearing transcripts (once made part of the
record).
b. Certificates of service, status reports, or scheduling orders.
iy. Other Substantive Communications Intended for the Court’s Docket:
a, Letters or correspondence (including those transmitted via email) that clearly seek relief,
respond to a court directive, or otherwise bear on the rights and obligations of parties

shall be considered “papers filed” that require docketing—particularly if they effectively
function as a motion, request for relief, or written argument.

b. Requests for transcripts, requests for entry of default, or other case-administration
communications, so long as they are filed with the Clerk and pertain to the progress or
disposition of the case.

v. Administrative Entries:

a. Clerk’s docket notations, such as entries reflecting receipt of fees, issuance of summons,

or scheduling of Section 341 meetings.

In essence, any written submission or formal event that is bart of the official record of the bankruptcy or
is reasonably related to the resolution of the case constitutes “activity.” If a filing or communication seeks
relief, addresses a ee matter, or otherwise affects the debtor’s estate, the administration of the

case, or parties’ rights, it must be filed on the docket and becomes a matter of public record. This

obligation under Rule 5003(a) reflects the principle that bankruptcy proceedings must maintain an

accurate, transparent record of everything that can influence or determine the outcome of the case. Put

differently, “activity” is any event or filing that the court and interested parties need to be able to track,
review, and, if necessary, challenge or appeal.

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
Notice of Appeal appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported Order-01.
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12-10B) (Part 14-10B) APPELLANTS’ ULYSSES T. WARE
AND GROUP MANAGEMENTS’ AMENDMENT NO. 2 TO
APPELLANTS’ NOTICE OF APPEAL, Dkt. 279, Feb. 7,
2025, 03-93031 (BC NDGA), APPEAL OF DKT. 286.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
IN RE:
GROUP MANAGEMENT CORP.,
Debtor.
Chapter 11

Case No. 03-93031-BEM

On appeal in In re Group Management Corp., 25cv00613 (NDGA) (MLB)

APPELLANTS: ULYSSES T. WARE and GROUP MANAGEMENT

DOCUMENT TITLE: APPELLANTS’ AMENDMENT NO. 2 TO NOTICE OF APPEAL (RE:
DKT. 286) CHALLENGING BANKRUPTCY COURT’S WILLFUL FABRICATION OF
“FACTS,” RESISTANCE TO RES JUDICATA, AND UNAUTHORIZED PRECLUSIVE
EFFECT OF ORDERS.

DATE: February 19, 2025

I. INTRODUCTION

Appellants-Movants, Ulysses T. Ware and Group Management (collectively,
“Appellants”), 11 USC § 1109(B) statutory parties in interest, hereby submit this Amendment No.
2 to their Notice of Appeal, Dkt. 279. This amendment supplements and amends Appellants’ initial
Notice of Appeal, Docket Entry 279, filed on February 3, 2025, and pertains to the Order-01
entered by the Bankruptcy Court on February 18, 2025, and docketed as Docket Entry 286 (the
“February 18, 2025 Order” or “Dkt. 286 Order”), attached hereto as Exhibit 1. This appeal is taken

to the United States District Court for the Northern District of Georgia pursuant to Rule 8001 and

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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Rule 8002 of the Federal Rules of Bankruptcy Procedure and 28 U.S.C. § 158(a)(1), asserting an

appeal as of right from a final order of the Bankruptcy Court.

Il. GROUNDS FOR APPEAL

Appellants appeal from the Bankruptcy Court’s February 18, 2025 Order (Dkt. 286) on the

following grounds, which demonstrate the Bankruptcy Court’s:

A. WILLFUL JUDICIAL FABRICATION OF “FACTS” AND LACK OF ARTICLE III SUBJECT MATTER

JURISDICTION (DKT, 286 ORDER VOID AB INITIO).

1. Lack of Article III Jurisdiction: The Bankruptcy Court lacked Article III subject matter
jurisdiction to enter the February 18, 2025, Order (Dkt. 286), rendering it and all prior
orders in this matter void ab initio. See Steel Co., 523 U.S. at 93-95.

2. Judicial Fabrication of Factual Predicates: Chief Judge Barbara Ellis-Monro’s issuance
of Dkt. 286 is further legally invalid—a nullity, due to its reliance on fabricated and non-
existent false alleged “factual” predicates. Dkt. 286 repeatedly references purported

“October Order” and “December Order” rulings, asserting:

i. “The October [“2024’’] Order sets forth the litany of filings submitted by Mr. Ware
to that point. [Doc. 256, pp. 6, 9, 50].”

ii. “In the October [2024] Order, the Court ordered that... (i) the Clerk must only
place on the docket...papers properly filed with the Clerk... (ii) the Clerk need not
file or docket papers... (iii) Mr. Ware had time to file a response to show cause why

he should not be deemed a vexatious litigant...”

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
Notice of Appeal appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported Order-01.
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iil.

iv.

vi.

Vii.

Vill.

“As is shown in the Court's December 13, 2024, Order, (the “December Order”)
Mr. Ware failed to abide by the October [2024] Order...”

“In the December [“2024”] Order, in determining that no grounds existed to
reconsider the October Order, the Court noted that if Mr. Ware disagrees with the
Court's rulings that an appeal is the appropriate remedy.”

“In the Bar Order the Court reviewed the history of this closed case and the show
cause hearing held after entry of the October Order.”

“The Court will not restate the history or analysis in each of the October [“2024”]
Order, the December [“‘2024”]Order or the Bar Order but assumes familiarity with
each and fully adopts each of the Orders and their findings.”

“The Court noted further that all filing limitations that were included in the October
Order continue to apply.”

“Each of these arguments were addressed in the October [“2024”] Order.”

3. Demonstrably False Factual Basis: As evidenced by the most recent, Feb. 19, 2025, 03-

93031 docket sheet (Exhibit 2), no order was entered or docketed by the Bankruptcy Court

in October 2024, nor on December 13, 2024. The Bankruptcy Court’s repeated references

to these non-existent orders are demonstrably false and constitute a willful judicial

fabrication of facts. This fabrication, combined with the persistent lack of Article III subject

matter jurisdiction, renders Dkt. 286 void ab initio and exposes egregious judicial

misconduct.

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Wednesday, February 19, 2025
(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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B. WILLFUL AND UNLAWFUL RESISTANCE TO RES JUDICATA AND BINDING EFFECT OF SDNY

FINAL JUDGMENT.

1. Resistance to Res Judicata: Dkt. 286, predicated on fabricated “facts,” further embodies
a willful and legally indefensible resistance® to the binding preclusive effect of res judicata
and the lawful authority of the United States District Court for the Southern District of New
York.

2. Judicial Dishonesty: Judge Ellis-Monro’s reliance on fabricated “October [“2024”
nonexistent] Order” and “December [“2024” nonexistent] Order” fraudulent and fabricated

ultra vires rulings to justify Dkt. 286 is a brazen act of judicial dishonesty and overt

criminality. This fabrication creates a false and misleading narrative to legitimize the

continued disregard for Judge Sand’s voluntary, Rule 41(a)(2) December 20, 2007, Final

Judgment (Dkt. 90 in 02cv2219 SDNY) and to obstruct Appellants’ appellate efforts.

3. Grave Breach of Judicial Ethics: This willful resistance to res judicata, compounded by
manifest judicial fabrication, is a grave breach of judicial ethics and a direct assault on the
integrity of the federal judiciary, and constitutes civil and willful “resistance” (18 USC §§

401(2), 401(2)), criminal _contempt of Judge Sand’s Rule 41(a)(2) final judgment

(02cv2219), Dkt. 90.

5 See 18 USC §§ 401(2), 401(3): A court of the United States shall have power to punish by fine or
imprisonment, or both, at its discretion, such contempt of its authority, and none other, as—

(1) Misbehavior of any person in its presence or so near thereto as to obstruct the administration of
justice; . /

(2) Misbehavior of any of its officers in their official transactions;

(3) Disobedience or resistance to its lawful writ, process, order, rule, decree, or command.

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C. BAD FAITH AND FRIVOLOUS CHARACTERIZATION OF APPELLANTS’ SUBMISSIONS.

The Bankruptcy Court’s irresponsible mischaracterization of Appellants’ submissions as
“Gnflammatory and frivolous” in Dkt. 286 is maliciously and insidiously factually and legally
frivolous, baseless, meritless, and made in bad faith. This fraudulent mischaracterization, analyzed
in Appellants’ Notice of Appeal No. 1 (Dkt. 279), is deployed within an Order predicated upon

willful judicial fabrication of non-existent “facts.” The dismissal of Appellants’ documented

jurisdictional challenges as “inflammatory and frivolous” is a dishonest pretext to conceal judicial

misconduct and fabrication.

D. WILLFUL OBSTRUCTION OF APPELLATE RECORD DESIGNATION AND RULE 8009(d)

PROCESS.

The Bankruptcy Court’s continued obstruction of Appellate Record designation and the

Rule 8009(d) process, as evidenced by Dkt. 286, is intertwined with the willful fabrication of

PURPORTED “facts” and judicial dishonesty. These actions reflect a deliberate and malicious
intent to sabotage the Appellants’ appeal, conceal jurisdictional deficiencies, and undermine the

integrity of the judicial process.

E. VIOLATION OF FEDERAL RULE OF BANKRUPTCY PROCEDURE 5003(a) AND SUPREME

COURT PRECEDENT.

1. Violation of Rule 5003(a): The Bankruptcy Court’s directive in Dkt. 286 to “return all
emails received from Mr. Ware” violates Federal Rule of Bankruptcy Procedure 5003(a),

which mandates the Clerk to docket “each... activity in that case.” This directive

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improperly prevents the docketing of court activity based on the filer's identity,
undermining the integrity and transparency of the court record.
2. Supreme Court Precedent: Supreme Court precedent establishes that federal courts are

bound by their own procedural rules:

i. Torres v. Oakland Scavenger Co., 487 U.S. 312, 318 (1988) (“The Federal Rules
of Civil Procedure are binding upon the federal courts as well as the litigants and
cannot be modified to suit the convenience of a particular case.”). (paraphrased)

ii. Bank of Nova Scotia v. United States, 487 U.S. 250, 254-55 (1988) (“[T]he rules
are binding upon the court, as well as upon the parties, and the courts have no more
discretion to disregard [them] than they have to disregard statutory provisions.”).
(paraphrased).

iii. Colgrove v. Battin, 413 U.S. 149, 164 n.23 (1973) (“The Federal Rules of Civil

Procedure have the force and effect of law ....”). (paraphrased).

The Bankruptcy Court’s action, Dkt. 278 and 286, overt and predicate acts—a_repeating

pattern of racketeering activity as defined in 18 USC § 1961(4), contravenes Rule 5003(a) and

established Supreme Court precedent, depriving Appellants and the public of a complete and

accurate court record.’

7 Cf, In re Westinghouse Elec. Corp. Uranium Contracts Litig., 570 F.2d 899 (10th Cir. 1978) (Limits
on Case-Management Discretion: While federal courts hold broad discretion over scheduling and
consolidation, Westinghouse reaffirms that such discretion has limits. Any procedure that meaningfully

affects the parties’ substantive or due process rights (e.g., discovery, motion practice, filings, etc.) must
be rooted in and consistent with the FRCP). (emphasis added).

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F. WILLFUL MISCHARACTERIZATION OF KTS’ UNREGISTERED BROKER-DEALER CLIENTS.

The Bankruptcy Court’s willful, persistent, deliberate, and intentional mischaracterization
of KTS’ unregistered broker-dealer clients as “claimants” falsely implies lawful claims based on
enforceable debts. In reality, these alleged claims (Dkt. 11, 15, and 16) are predicated on predatory

criminal usury debts, void ab initio under New York law (GX 1-4), and violated NYS Penal Law,

section 190.40. See Adar Bays, LLC v. GeneSYS ID, Inc., 28 F.4d 379 (2d Cir. 2022); United
States v. Grote, 961 F.3d 105, 109 (2d Cir. 2020)(aff'd criminal conviction, sentence, and +$3.5

billion RICO forfeiture judgment for unlawful debt collection activities). This deliberate,

intentional, bad faith, reckless, and irresponsible mischaracterization demonstrates actual and

apparent bias, prejudice, and lack of judicial impartiality.

Il. RELIEF REQUESTED

WHEREFORE, Appellants-Movants, Ulysses T. Ware and Group Management,
respectfully request that the United States Bankruptcy Court for the Northern District of Georgia

grant the following relief:

1. Pursuant to Rule 5003(a) accept this Amendment No. 2 to Notice of Appeal (Re: Dkt. 286)
as a timely and proper appeal from the Bankruptcy Court’s Order entered on February 18,
2025, docketed as Docket Entry 286, docket the same, and forward to the District Court

(NDGA) in 25cv00613 (NDGA) (MLB) for consolidation in the pending appeal.

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(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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2. For the District Court, 25cv00613 (MLB) to consolidate this Amendment No. 2 to Notice
of Appeal (Re: Dkt. 286) with Appellants’ initial Notice of Appeal, Docket Entry 279, for
all further appellate proceedings in Case No. 25cv00613 (NDGA) (MLB).

3. For the District Court to summarily Reverse and Vacate the Bankruptcy Court’s February

18, 2025, Order (Dkt. 286) in its entirety, finding that said Order was flagrantly, blatantly,

and recklessly entered without Article III subject matter jurisdiction, constitutes a willful,
bad faith, and unlawful resistance (civil and criminal contempt) to res judicata’s preclusive
effects that attached to Judge Sand’s Dec. 20, 2007, Dkt. 90, voluntary Rule 41(a)(2) final
judgment entered in 02cv2219 (SDNY), is predicated upon demonstrably fabricated

“facts,” reflects a manifest abuse of discretion, and is a deliberate and legally dishonest

misapplication of controlling Eleventh Circuit and Supreme Court precedent.

4. Vacate Ab Initio and Annul All Orders Issued by the Bankruptcy Court in Case No. 03-
93031 (BEM) Since May 29, 2003 (Including Dkts. 28, 256, 258, 263, 274, 275, 278, and
286), as Jurisdictionally Void and Procured Through Fraud Upon the Court.

5. Remand this matter to the Bankruptcy Court with explicit and peremptory instructions to
immediately cease and desist from any further actions or proceedings in Case No. 03-9303 1
(BEM) pending the final resolution of the appeal before the United States District Court,
and to fully cooperate with Appellants-Movants in the designation and certification of the
Appellate Record pursuant to Rule 8009 of the Federal Rules of Bankruptcy Procedure.

6. Order the immediate recusal and judicial disqualification of Chief Judge Ellis-Monro in
regard to the 03-93031 proceedings.

7. Order the immediate referral of Judge Ellis-Monro and the Bankruptcy Clerk to the Judicial
Council of the Eleventh Circuit Court of Appeals with a recommendation to initiate a

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JC&D Rule S(a) sua sponte complaint by the Chief Judge based on the enclosed
information.

8. Grant such other and further relief as is just, equitable, and proper, including but not limited
to the imposition of severe judicial sanctions against Chief Bankruptcy Judge Barbara
Ellis-Monro for her willful and contumacious judicial misconduct, and referral of this
matter to the appropriate authorities for investigation into potential criminal violations of
federal law by Chief Judge Ellis-Monro and other officers and employees of the

Bankruptcy Court.

IV. CONCLUSION

For the foregoing reasons, Appellants respectfully request that the District Court grant the
relief requested herein and reverse the Bankruptcy Court’s demonstrably erroneous and

jurisdictionally void Order, Dkt. 286, forthwith.

Respectfully submitted,
/s/ Ulysses T. Ware

ULYSSES T. WARE

Al types 2: War

Attorney in Fact for Appellants-Movants
Ulysses T. Ware and Group Management
The Office of Ulysses T. Ware

123 Linden Blvd., Ste 9-L

Brooklyn, NY 11226

(718) 844-1260

utware007@gmail.com

Dated: February 19, 2025, 10:40:48 AM

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V. EXHIBITS

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EXHIBIT 1—Dkt. 286. Purported Order Entered by the Bankruptcy Court on
February 18, 2025, and Docketed as Docket Entry 286 in In re Group Management
Corp., Case No. 03-93031 (BEM) (Bankr. N.D. Ga.).

Case 03-93031-wih Doc 286 Filed 02/18/25 Entered 02/18/25 15:23:02 Desc Main
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IT IS ORDERED as set forth below:

Date: February 18, 2025 /

Barbara Ellis-Monro
U.S. Bankruptcy Court Judge

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

IN RE:
CASE NO. 03-93031-BEM
GROUP MANAGEMENT CORP.,

Debtor. CHAPTER 11

ORDER

An appeal has been filed in this case which was accompanied by a letter from Mr.
Request a copy of the alleged "letter."

Ulysses T. Ware in which Mr. Ware requests that this Court hold a status conference under 11

U.S.C. § 105(d) to establish a briefing schedule on the asserted jurisdictional issue. This Court

Unregistered broker-dealers according to FINRA

addressed its jurisdiction, the standing of claimants who held or hold certain convertible
predatory criminal usury convertible promissory notes, GX 1-4. L2EELE

promissory notes issued by Debtor, and Mr. Ware in an order entered October 22, 2024 he
We reviewed the 03-93031 docket and there is no such order on the docket.

“October Order’), Thus, to the extent Mr. Ware seeks relief from the Bankruptcy Court, there is

No such “ alleged October Order" appears on the 03-93031 Rule 5003 docket

no action this Court can take until the District Court rules on the appeal. U.S. Commodity Futures

Trading Comm'n y. Escobio, 946 F.3d 1242, 1251 (11th Cir. 2020). Furthermore, letters are not

proper pleadings. BLR 9003-2.

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Notwithstanding the short duration of the case’, which was filed on March 18, 2003,
and dismissed with consent of Debtor on May 21, 2003, Mr. Ware, an attorney who was prohibited
from practice in the Bankruptcy Court for the Northern District of Georgia at the time the case was
filed and was subsequently disbarred in Georgia, has inundated the Court with letters, documents
and purported pleadings. The October Order sets forth the litany of filings submitted by Mr, Ware
to that point, [Doc. 256, pp. 6, 9, 50]. Thereafter, the Court entered an order denying all pending
motions [Doc. 274] and an Order Finding Ulysses T. Ware Is A Vexatious Litigant and Limiting
His Future Filing In This Case {he “Bat Order”), [Doc. 275].

In the October Order, the Court ordered that (i) the Clerk must only place on the
docket of the Group Management case papers properly filed with the Clerk (not emailed) and
which are orders, judgments or activities reflecting request for relief in this bankruptcy case, (ii)
the Clerk need not file or docket papers delivered to the Clerk if they are copies of pleadings filed
in cases other than this bankruptcy case, copies of correspondence sent to any person or entity, or
correspondence to the Clerk, and (iii) Mr. Ware had time to file a response to show cause why he
should not be deemed a vexatious litigant and be prohibited from making any further filings in this
closed bankruptcy case. [Doc. 256, p. 53]. The Court held a hearing for Mr. Ware to show cause
on December 8, 2022, at which Mr. Ware appeared by video.

No such order appears on the 03-93031 docket _
Asis shown in the Court’s December 13, 2024, Order, (the “December Order”) Mr,

Ware failed to abide by the October Order and filed six moWgns between entry of the October

Order on October 24 and the December Order on December 13, 2022 [Doc. 274, p. 2]. In the

December Order, in determining that no grounds existed to reconsider the October Order, the Court

! This case was closed on June 3, 2003, and remains closed.

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(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
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noted that if Mr. Ware disagrees with the Court’s rulings that an appeal is the appropriate remedy.
Id. at 15.

In the Bar Order the Court reviewed the history of this closed case and the show
cause hearing held after entry of the October Order, The Court will not restate the history or
analysis in each of the October Order, the December Order or the Bar Order but assumes
familiarity with each and fully adopts each of the Orders and their findings. In addition, the Court
reviewed Mr. Ware’s behavior in cases pending in the Southern District of New York and the

Second Circuit where he, as he has done here, inundated the court in closed cases with

inflammatory and frivolous papers. [Doc, 275 pp. 8-12]. The Court concluded that Mr. Ware is a
vexatious litigant and barred him from filing any pleadings in this case except a notice of appeal
to the United States District Court for the Northern District of Georgia or the Eleventh Circuit
Court of Appeals and any documents necessary to prosecute the appeal, such as the designation of
the record or requests for transcripts. The Court noted further that all filing limitations that were
included in the October Order continue to apply.

Notwithstanding these Orders and filing restrictions, since May 29, 2024, Mr. Ware
has sent over 100 emails to now retired Judge Hagenau’s and this judge’s chambers email
addresses. These emails are composed of orders and memoranda concerning cases (long closed)
pending in the Southern District of New York and filing repetitive, inflamimatory and frivolous,
.pdf attachments with emails related to this long-closed bankruptcy case. The emails often contain
allegations of unlawful actions by judges and employees of this Court, lawyers, attorneys for the
United States Trustee among others. Each of these arguments were addressed in the October Order,

(Doc. 256, pp. 10-17, 29-43}; [Doc. 274, pp. 6-8].

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While the Court can take no substantive action while the appeal is pending in the
District Court it can and will take action to control the purported filings sent by Mr. Ware via
email. The constant emailing by Mr. Ware of voluminous, repetitive, abusive and frivolous
documents wastes judicial resources and administrative time and must stop. Therefore, the Court
will begin the return of all documents submitted through email and will henceforth return any
email received from Mr. Ware unopened and it is now, hereby,

ORDERED that the Court will not review and will return all emails received from
Mr. Ware.

END OF ORDER

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Distribution List

Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

Office of the United States Trustee
362 Richard Russell Building

75 Ted Turner Drive, SW

Atlanta, GA 30303

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EXHIBIT 2—03-93031 Docket Sheet for In re Group Management Corp., Case No. 03-
93031 (BEM) (Bankr. N.D. Ga.), as of Feb. 19, 2025, reflecting the complete absence
of any “October Order” 2024 or “December Order” entered as required by Bankr.
Rule 5003(a) in 2024.

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VI. CERTIFICATE OF SERVICE

I, Ulysses T. Ware, stones in fact for the Appellants, hereby certify under penalty of
perjury that on this 19th day of February, 2025, I caused to be served a true and correct copy of
the foregoing APPELLANTS? AMENDMENT NO. 2 TO NOTICE OF APPEAL (RE: DKT. 286)
CHALLENGING BANKRUPTCY COURT’S WILLFUL FABRICATION OF “FACTS,”
RESISTANCE TO RES JUDICATA, AND UNAUTHORIZED PRECLUSIVE EFFECT OF
ORDERS, including Exhibits 1 and 2, via electronic filing with the Bankruptcy Court and by U.S.
Mail to the Office of the Clerk, United States Bankruptcy Court, Northern District of Georgia,
Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia 30303, and via electronic mail to all parties listed on the Court’s Electronic Filing

System in Case No. 03-93031 (BEM).

/s/ Ulys$es T. Ware

Ulysses T. Ware

End of document

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Please find enclosed for formal Bankr. Rule 5003(a) filing with the Clerk of the Bankruptcy
Court:
1. Appellants’ Amendment No. 2 to their Dkt. 279 Notice of Appeal of Dkt. 286, Feb. 18,
2025, moot, null and void ab initio, ultra vires, and nullity purported Order-01, Pursuant to

Bankruptcy Rule 9014 and Rule 12(h)(3) Regarding Article III Subject Matter Jurisdiction
and Standing.

Thank you for your attention to this critically important Article III “threshold” jurisdiction and

standing constitutional matter.

RESPECTFULLY SUBMITTED,

For Appellants-Movants: GROUP MANAGEMENT and Ulysses T. Ware

ysses T. Ware
Hoan 2 Wear

ted eo
/s/ Ulysses T. Ware
The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
Utware007@gmail.com
February 19, 2025

For Appellants-Movants Ulysses T. Ware and Group Management and Appellees:

ce: U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council
Administrative Office of the U.S. Courts, Executive Director

Office of the U.S. Trustee, Region 21, (Mary Ida Townson, Esq.)

Financial Industry Regulatory Agency (FINRA) on behalf of the Securities and Exchange
Commission (Marcia E. Asquith, Esq.)

State Bar of Georgia, Office of the General Counsel (William D. NeSmith, IID on behalf of
the Supreme Court of Georgia, Office of the Chief Justice, the Hon. Michael P. Boggs

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Edward T.M. Garland on behalf of Garland, Samuel, & Loeb, P.C. and affiliates

Nall & Miller, LLP

Kilpatrick, Townsend, & Stockton, LLP on behalf of its clients, the 02cv2219 (SDNY)
plaintiffs, Unregistered broker-dealers Arie Rabinowitz on behalf of LH Financial Services
Corp., Trailblazer Merger Corp., I

Unregistered broker-dealers Frank V. Sica on behalf of Tailwind Management L.P., Colleen
McMahon, and Michael S. Bertisch (see Ex. 10)

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Certificate of Service

I Ulysses T. Ware certify that I have this 19" February 2025 served each of the below persons or
entities with a copy of this pleading via their public email accounts and submitted the same to the
U.S. Bankruptcy Court (NDGA), to the Office of the Bankruptcy Clerk (NDGA) via the U.S. mail
for immediate filing and docketing pursuant to 18 USC §§ 2071(a), (b), Bankr. Rules 5003(a),

5005(a)(2)* and 5005(b)(1) with the U.S. Trustee.°

cc: Office of the U.S. Trustee, Region 21 (Mary Ida Townson)
U.S. Court of Appeals for the Eleventh Circuit, Office of the Judicial Council

Kilpatrick, Townsend, & Stockton, LLP (via CEO Wab Kadaba, Esq., J. Henry
Walker, IV, Dennis S. Meir, and John W. Mills, IIT)

Arie Rabinowitz, Kenneth A. Zitter, Alpha Capital, AG, Stonestreet, L.P.
Markham Holdings, Ltd., AMRO International, S.A., Trailblazer Merger Corp,
I, LH Financial Services Corp., convicted felon Edward M. Grushko, Joseph
Hammer, and Barbara R. Mittman via Kilpatrick, Townsend, Stockton, LLP
(Wab Kadaba, Esq. and J. Henry Walker, IV).

Baker & McKenzie, LLP (via Lawrance B. Mandala, Esq., Robert Alberal, Esq.
and Thomas A. Leghorn, Esq.)!°

William D. NeSmith, III, State Bar of Georgia; Office of the Chief Justice,
Supreme Court of Georgia, the Hon. Michael P. Boggs (via Paula Fredrick and
William D. NeSmith, III--statutory agents in fact); and

8 With a Judge of the Court. A judge may personally accept for filing a paper listed in (1). The judge must
note on it the date of filing and promptly send it to the clerk.

° (b) Sending Copies to the United States Trustee.

(1) Papers Sent Electronically. All papers required to be sent to the United States trustee may be sent by
using the court’s electronic-filing system in accordance with Rule 9036, unless a court order or local rule
provides otherwise.

10 Baker & McKenzie, LLP has primary liability in the sum certain amount of $2.225 billion.

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Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
Notice of Appeal appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported Order-01.
Case 1:25-cv-00613-MLB Document 5-15 Filed 03/07/25 Page 31 of 32

John F. King, Georgia Insurance Commissioner on behalf of (undisclosed
identities) John Doe Insurance Companies ##1-5 (via William D. NeSmith, III,
Wab Kadaba, J. Henry Walker, III, Michael D. Hostetter, Edward T.M. Garland,
the State Bar of Georgia, Office of the General Counsel, and Wendy L. Hagenau,
statutory agents in fact);

FINRA (via Robert W. Cook, Robert L.D. Colby, Sarah Jeffries, and Marcia E.
Asquith) on behalf of the Securities and Exchange Commission (11 USC 1109(a)
statutory party in interest); and

Acting Director of the FBI (via Mary Ida Townson,
Esq., U.S. Trustee, Region 21)

D1 Were

/s/ Ulysses T. Ware

February 19, 2025

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Page 31 of 31

Wednesday, February 19, 2025

(12-10A2) (Part 14-10A2) re: Appellants’ Feb. 19, 2025, Amendment No. 2 to Feb. 7, 2025, Dkt. 279,
Notice of Appeal appealing Dkt. 286, Feb. 18, 2025, moot and void ab initio purported Order-01.
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